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                         UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF TEXAS
                                WACO DIVISION

SBI CRYPTO CO., LTD.                          §
                                              §
vs.                                           §     NO: WA:23-CV-00252-ADA-DTG
                                              §
WHINSTONE US, INC.                            §

       ORDER SETTING STATUS CONFERENCE AND DISCOVERY HEARING

        IT IS HEREBY ORDERED that the above entitled and numbered case is set for STATUS

CONFERENCE AND DISCOVERY HEARING on Friday, May 02, 2025 at 09:30 AM (1 hour

time block) before the Honorable Derek T. Gilliland. The Zoom hearing link will be provided to

counsel of record via email.



        SIGNED this 1st day of May, 2025.




                                                  ______________________________
                                                  DEREK T. GILLILAND
                                                  UNITED STATES MAGISTRATE JUDGE
